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                 EXHIBIT B-085
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                                                                                 FILEDINOFFICE

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                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA         [


IN RE 2 MAY2022 SPECIALPURPOSE                                               I
GRANDJURY--SUBPOENAFOR                                  2022-EX-000024
KENNETH CHESEBRO


                         ORDER DENYING MOTION TO QUASH

         On 20 January 2022, the District Attorney of Fulton County petitioned the Chief

Judge of the Superior Court of Fulton County to convene the entire Superior Court bench

to consider the District Attorney's request for a special purpose grand jury. That grand

jury's proposed charter was to conduct a criminal investigation into "the facts and

circumstances relating directly or indirectly to possible attempts to disrupt the lawful -

administration of the 2020 elections in the State· of Georgia" and to prepare a report and

recommendation for the District Attorney advising her whether: she should seek to

prosecute anyone for such potential crimes. On 24 January 2022, th~ Chief Judge, having

received a majority of the twenty judges' assent, issued an Order authorizing the

convening of a special purpose grand jury for this criminal investigation.

         On 2 May 2022, the special purpose grand jury was selected 1nd sworn in; in June

2022    it began receiving evidence and investigating the possibility of criminal interference

in the 2020 general election. On 12 July 2022, the District Attorney served a subpoena

on Kenneth Chesebro, an attorney for the Trump campaign during the 2020               election

cycle. Nearly a month and a half later, and only several days before his scheduled -

appearance, Mr. Chesebro filed a motion to quash his subpoena. His argument is that the

entirety of his expected testimony is protected by attorney-client privilege as well as his
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"duty of confidentiality" to his client.1 The State promptly responded in opposition.

Having considered the pleadings, the Court finds that quashal is nlt warranted and so

Mr. Chesebro's motion is DENIED.

          There is no doubt that much of what Mr. Chesebro did for the Trump campaign is

privileged: advice to his client, communications with his client, legal research conducted

on behalf of his client, etc. These areas are robustly protected by the attorney-client

privilege and, as imported into these proceedings, the duty of confidentiality. 2 However,

as the District Attorney has pointed out, there are also areas of interest to the special

purpose grand jury that are not off-limits: Mr. Chesebro's background and experience, his

knowledge of both Georgia and federal election law, his communications with Republican

party officials in Georgia following the 2020 general election, his interactions with the
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individuals in Georgia seeking to prepare a slate of "alternate" ele~tors weeks after the
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final vote count showed former President Trump losing by over 10,900                    votes in Georgia,
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etc. Because these are legitimate, relevant, non-protected areas of;investigation for the

special purpose grand jury, quashal is improper.

          Instead, as has been the case with other attorney witnesses 'appearing before the

special purpose grand jury, lawyers for the District Attorney and la~ers for Mr. Chesebro

should confer to determine the categories of inquiry which will' trigger privilege (or

confidentiality) objections and those which will not. As always, if the lawyers cannot

amicably resolve disputes concerning the extent of privilege/ confidentiality or if they


1 Mr. Chesebro is licensed to practice law in the State of New York (anc:I.the Commonwealth of

Massachusetts). The New York Rules of Professional Conduct (NYRPC)include a requirement that a lawyer
"not knowingly reveal confidential information [obtained during representation;of a client]. .. unless ... the
client gives informed consent." NYRPC 1.6(a). Massachusetts law contains a parallel requirement. And,
according to Mr. Chesebro, his client (the "Trump Campaign") has expressly elected not to provide consent.
2
    The District Attorney acknowledges as much in her response to the motion to quash. (Response at 1).
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otherwise need guidance on how best to navigate an area ~f disagreebent, the Court will
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make itself available.

       SO ORDERED this 29 th day of August 2022.




                                                  g obert C.I. McBurney
                                              Superior Court of Fulton County
                                              Atlanta Judicial Circuit




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